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                         THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 CABLE NEWS NETWORK, INC. and ABILIO
 JAMES ACOSTA,


        Plaintiffs,

 v.

 DONALD J. TRUMP, in his official capacity as
 President of the United States; JOHN F. KELLY, in
 his official capacity as Chief of Staff to the President
 of the United States; WILLIAM SHINE, in his
 official capacity as Deputy Chief of Staff to the          Case No.
 President of the United States; SARAH HUCKABEE
 SANDERS, in her official capacity as Press Secretary
 to the President of the United States; the UNITED
 STATES SECRET SERVICE; RANDOLPH ALLES,
 in his official capacity as Director of the United
 States Secret Service; and JOHN DOE, Secret
 Service Agent, in his official capacity,

        Defendants.


                                     [PROPOSED] ORDER

      Upon consideration of Plaintiffs’ Motion for a Temporary Restraining Order and the

Memorandum of Law, declarations, and materials filed in support thereof, it is hereby

       ORDERED that Plaintiffs’ Motion for a Temporary Restraining Order is GRANTED.

Defendants shall immediately rescind the revocation of Plaintiff Acosta’s White House press

credentials and restore them to him pending resolution of Plaintiffs’ Motion for a Preliminary

Injunction.

       SO ORDERED this ___ day of ______ 2018.

                                                       _____________________________
                                                         United States District Judge
